Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 1 of 7




          EXHIBIT K
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 2 of 7
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 3 of 7
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 4 of 7
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 5 of 7
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 6 of 7
Case 3:17-cv-05769-RJB Document 229-10 Filed 01/02/20 Page 7 of 7
